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                         Exhibit 2
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                                               US8013734 Vs OnSolve MIR3
      Claim                                     OnSolve MIR3 (“The Accused Product”)
1. A method of The accused product practices a method of alarm notification (e.g., mass notification messages).
alarm notification,
the         method
comprising:




                     https://www.onsolve.com/solutions/products/mir3/
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  https://www.onsolve.com/solutions/products/mir3/




  https://www.onsolve.com/solutions/products/mir3/
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  https://play.google.com/store/apps/details?id=com.onsolve.mir3&hl=en_us
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                      https://www.onsolve.com/wp-content/uploads/2017/06/MIR3-Feature-MobileApp.pdf

activating an alert The accused product practices activating an alert mode (e.g., alert initiation) of a mobile device (e.g., a mobile
mode of a mobile device with OnSolve MIR3 mobile application) based on an emergency situation (e.g., weather, criminal
device based on an activity, fires, and other public safety threats) in an area (e.g., location selected for the mass notification).
emergency situation
in an area;
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  https://play.google.com/store/apps/details?id=com.onsolve.mir3&hl=en_us
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  https://www.onsolve.com/wp-content/uploads/2017/06/MIR3-Feature-MobileApp.pdf
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  https://www.onsolve.com/wp-content/uploads/2017/06/MIR3-Feature-MobileApp.pdf
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  https://www.onsolve.com/wp-content/uploads/2017/06/MIR3-ProductSheet.pdf
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transmitting, from     The accused product practices transmitting, from the mobile device (e.g., a mobile device with OnSolve MIR3
the mobile device,     mobile application), an indication (e.g., alert initiation by the mobile device) of the emergency situation (e.g.,
an indication of the   weather, criminal activity, fires, and other public safety threats) to a communication network control system
emergency situation    (e.g., OnSolve MIR3 alert manager).
to a communication
network      control
system;
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   https://play.google.com/store/apps/details?id=com.onsolve.mir3&hl=en_us
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   https://www.onsolve.com/wp-content/uploads/2017/06/MIR3-Feature-MobileApp.pdf
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   https://www.onsolve.com/wp-content/uploads/2017/06/MIR3-Feature-MobileApp.pdf
Case 1:20-cv-01006-MN Document 1-2 Filed 07/28/20 Page 14 of 27 PageID #: 42




   https://www.onsolve.com/landing/mir3-emergency-alert-system-enterprise/




   https://www.onsolve.com/press_release/onsolve-launches-new-mass-notification-feature-to-reduce-risk-of-
   inaccurate-unauthorized-alerts/
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confirming, by the    The accused product practices confirming, by the communication network control system (e.g., OnSolve
communication         MIR3 alert management), the indication of the emergency situation (e.g., weather, criminal activity, fires, and
network     control   other public safety threats) to the mobile device (e.g., mobile device with OnSolve MIR3 mobile application).
system,         the
indication of the     As shown below, individuals with OnSolve MIR3 mobile application can provide alerts and situational
emergency situation   information. OnSolve MIR3 alert manager controls the communication of the alert information to the internal
to    the   mobile    and external of the organization. Upon information and belief, the OnSolve MIR3 alert manager confirms the
device;               emergency situation before sending alert information to others.




                      https://www.onsolve.com/landing/mir3-emergency-alert-system-enterprise/
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   https://www.onsolve.com/press_release/onsolve-launches-new-mass-notification-feature-to-reduce-risk-of-
   inaccurate-unauthorized-alerts/




   https://www.onsolve.com/wp-content/uploads/2017/06/MIR3-Feature-MobileApp.pdf
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notifying, by the The accused product practices notifying, by the communication network control system (e.g., OnSolve MIR3
communication       alert management), emergency personnel (e.g., emergency responders) of the indication of the emergency
network     control situation (e.g., weather, criminal activity, fires, and other public safety threats).
system, emergency
personnel of the
indication of the
emergency
situation;




                    https://www.onsolve.com/landing/mir3-emergency-alert-system-enterprise/




                    https://www.onsolve.com/press_release/adm-chooses-intelligent-notification-from-mir3-as-point-of-contact-
                    communication-tool/
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   https://play.google.com/store/apps/details?id=com.onsolve.mir3&hl=en_us
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   https://www.onsolve.com/landing/mir3-emergency-alert-system-enterprise/




   https://www.onsolve.com/press_release/onsolve-launches-new-mass-notification-feature-to-reduce-risk-of-
   inaccurate-unauthorized-alerts/
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transmitting, by the   The accused product practices transmitting, by the communication network control system (e.g., OnSolve
communication          MIR3 alert management), an indication (e.g., alert transmission by the mobile device) of the emergency
network      control   situation (e.g., weather, criminal activity, fires, and other public safety threats) to one or more additional
system,           an   mobile devices (e.g., targeted mobile device within selected geolocation) in the area, wherein the one or more
indication of the      additional mobile devices (e.g., targeted mobile device within selected geolocation) are mobile devices within
emergency situation    a predetermined physical range (e.g., geological range set by the operator) of the emergency situation (e.g.,
to one or more         weather, criminal activity, fires, and other public safety threats) indicated by the first mobile device.
additional mobile
devices in the area,
wherein the one or
more      additional
mobile devices are
mobile       devices
within             a
predetermined
physical range of
the      emergency
situation indicated
by the first mobile
device; and




                       https://www.onsolve.com/capabilities/critical-communications-and-alerting/
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   https://www.onsolve.com/wp-content/uploads/2017/06/MIR3-Feature-GIS.pdf
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   https://www.onsolve.com/solutions/products/mir3/
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   https://www.onsolve.com/landing/mir3-emergency-alert-system-enterprise/




   https://www.onsolve.com/press_release/onsolve-launches-new-mass-notification-feature-to-reduce-risk-of-
   inaccurate-unauthorized-alerts/
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transmitting, by the    The accused product practices transmitting, by the communication network control system (e.g., OnSolve
communication           MIR3 alert manager), an indication (e.g., alert transmission via mobile device) of the emergency situation
network       control   (e.g., weather, criminal activity, fires, and other public safety threats) to one or more local alarm devices (e.g.,
system,            an   desktop alerts, digital signage, etc.) in the area, the local alarm devices (e.g., desktop alerts, digital signage,
indication of the       etc.) being in the vicinity of the emergency situation (e.g., weather, criminal activity, fires, and other public
emergency situation     safety threats).
to one or more local
alarm devices in the
area, the local alarm
devices being in the
vicinity of the
emergency
situation.
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   https://www.onsolve.com/wp-content/uploads/2017/06/MIR3-Feature-DesktopAlerting.pdf
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   https://www.onsolve.com/wp-content/uploads/2017/06/MIR3-Feature-DesktopAlerting.pdf
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   https://www.onsolve.com/landing/mir3-emergency-alert-system-enterprise/




   https://www.onsolve.com/press_release/onsolve-launches-new-mass-notification-feature-to-reduce-risk-of-
   inaccurate-unauthorized-alerts/
